        Case 1:21-mj-00351-RMM Document 1-1 Filed 04/02/21 Page 1 of 7




                                STATEMENT OF THE FACTS

        Your affiant, Stephen Hart, is a Special Agent assigned to the Federal Bureau of
Investigation’s (“FBI) Washington Field Office (WFO). Specifically, I am tasked with
investigating public corruption and financial fraud investigations. Among other duties, I am
currently investigating criminal activity that occurred in and around the U.S. Capitol on January
6, 2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
         Case 1:21-mj-00351-RMM Document 1-1 Filed 04/02/21 Page 2 of 7




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there. Photographs and videos of several of these persons were
disseminated via social media and other open source online platforms. These persons included a
white male, with brown hair, wearing a t-shirt that read “Wild Protest,” believed to be Michael
Fitzgerald (“FITZGERALD”), known to reside in Wisconsin.




                                                  Figure 1

        According to video footage, FITZGERALD entered the U.S. Capitol at approximately
2:47 pm on January 6, 2021, through the doors on the Senate side of the building. Prior to his
entry, the doors were guarded by law enforcement officers, who monitored the three entryways,
as depicted below:
        Case 1:21-mj-00351-RMM Document 1-1 Filed 04/02/21 Page 3 of 7




       At approximately 2:47 pm, rioters aggressively pushed a podium placed in the middle
doorway, which had acted as a barrier between the law enforcement officers and the rioters, against
the law enforcement officers. As depicted below, the law enforcement officers struggled to push
back against the crowd of rioters:




        During the push, which lasted for approximately 1 minute and 20 seconds, video footage
depicted rioters punching law enforcement officers, throwing objects at law enforcement
officers, and attempting to hit law enforcement officers with a flagpole.

        As seen below, highlighted in the red box, FITZGERALD was near the front of the line
of rioters, participating in the push against law enforcement officers:
        Case 1:21-mj-00351-RMM Document 1-1 Filed 04/02/21 Page 4 of 7




        As seen below, highlighted in the red box, as the pushing continued, FITZGERALD
raised his right hand to hold his phone in the air:




       After 1 minute and 20 seconds, the rioters pushed past the law enforcement officers. As
seen below, highlighted in the red box, FITZGERALD continued to use his phone after entering
the U.S. Capitol:
        Case 1:21-mj-00351-RMM Document 1-1 Filed 04/02/21 Page 5 of 7




       FITZGERALD then walked and congregated with other rioters inside the building.
FITZGERALD walked towards the Crypt at approximately 3:03 pm. At approximately 3:26
pm, or approximately 40 minutes after his entry, video shows FITZGERALD leaving the Capitol
through a window on the Senate side of the building.




       Subsequent to January 6, 2021, in an effort to identify individuals who had entered the U.S.
Capitol unlawfully, the FBI publicly released a “Seeking Information Bulletins,” which included
the Figure 1 photograph as Photograph #32 below:
        Case 1:21-mj-00351-RMM Document 1-1 Filed 04/02/21 Page 6 of 7




        On or about January 8, 2021, a tipster contacted FBI who had reviewed the FBI’s “Seeking
Information Bulletins” and identified Photograph #32 as FITZGERALD. The tipster confirmed
that s/he knew FITZGERALD through employment and provided FITZGERALD’s address and
phone number.

        On or about January 9, 2021, FITZGERALD contacted the FBI. On that same day, FBI
agents met with FITZGERALD at his residence in Janesville, Wisconsin. The agents confirmed
that FITZGERALD was the person depicted in Photograph #32 of the “Seeking Information
Bulletins.”

        Based on the foregoing, your affiant submits that there is probable cause to believe that
FITZGERALD violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions.

        Your affiant submits there is also probable cause to believe that FITZGERALD violated
40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
        Case 1:21-mj-00351-RMM Document 1-1 Filed 04/02/21 Page 7 of 7




        Finally, your affiant submits there is probable cause to believe that FITZGERALD violated
18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.



                                                     _________________________________
                                                     Special Agent Stephen Hart
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 2nd day of April 2021.
                                                                      2021.04.02
                                                                      14:39:23 -04'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     MAGISTRATE JUDGE
                                                     FOR THE DISTRICT OF COLUMBIA
